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      United States District Court, Eastern District of Washington
                             Magistrate Judge James P. Hutton
                                          Yakima

 USA v. JOSE MENDOZA-RUELAS                                Case No. 4:21-CR-6028-MKD-1

                                       Video Conference
                       The Defendant agreed to appear via video conference.

 Arraignment on 2nd Superseding Indictment:                                                   03/10/2022


 ☒    Pam Howard, Courtroom Deputy [Y]                ☒   Todd Swensen, US Atty (video)
                                                      ☒   Craig Webster, Defense Atty (video)
                                                      ☒   Interpreter required – Natalia Rivera (video)

 ☒    Defendant present ☒ in custody USM              ☐   Defendant not present / failed to appear
      appearing by video from Yakima County
      Jail       ☐out of custody

 ☒    Rights given                                    ☒    Defendant continued detained
 ☒    Acknowledgment of Rights filed                  ☐    Conditions of release as previously imposed
 ☒    Defendant received copy of charging document
 ☒    Defendant waived reading of charging document

 ☐    Charging document read in open court

                                             REMARKS
        Due to the current COVID-19 public health crisis, all parties including Defendant, appeared by
video or teleconference.
        Defendant was assisted by counsel and advised of their rights and the allegations contained in the
charging document.
        The Defendant acknowledged to the Court that their true and correct name is: GERARDO
MENDOZA-RUELAS.
        “Not guilty” plea entered.
        Discovery to be provided pursuant to the local rule on discovery.

The Court ordered:
        1. Matters involving detention have been previously heard and determined. Issue of detention
           not before the Court. Pre-existing Order of Detention will remain in full force.
        2. Defendant shall be detained by the U. S. Marshal until further order of the Court.
        3. As required by Rule 5(f), the United States is ordered to produce all information required by
           Brady v. Maryland and its progeny. Not doing so in a timely manner may result in sanctions,
           including exclusion of evidence, adverse jury instructions, dismissal of charges, and contempt
           proceedings. Order forthcoming.



Digital Recording/Y-102               Time: 1:55 p.m. – 2:07 p.m.                                    Page 1
